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 3
                              UNITED STATES DISTRICT COURT
 4                           EASTERN DISTRICT OF CALIFORNIA
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 6
     UNITED STATES OF AMERICA,     )
 7                                 )
                    Plaintiff      )                CR F-03-5054 OWW
 8                                 )
          v.                       )
 9                                 )
     TRENT DAVIS,                  )
10                                 )
                    Defendant      )           ORDER RESETTING HEARING
11   ______________________________)
12
          This case having previously been reassigned to United States
13
     District Judge Oliver W. Wanger,
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          IT IS HEREBY ORDERED that the hearing after remand as to
15
     defendant TRENT DAVIS be re-set for hearing on Monday, March 27,
16
     2006 at 9:00 a.m. before Judge Wanger.
17
          All further proceedings in this matter shall be heard by Judge
18
     Wanger.
19
20   IT IS SO ORDERED.
21   Dated: March 15, 2006                  /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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